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IN THE UNITED STATES DISTRICT COURT t

FOR THE WESTERN DISTRICT OF TENNESSEE 93 M w 2 g ig;-.q 1-9 5 g
WESTERN

 

 

UNITED STATES OF AMERICA,

Plaintiff,
vs. Case No. 03-20218 Ma

ROY DEXTER
Defendant,

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied With the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged', and the Clerk is directed to issue a check on the Registry in the sum of $500, payable
to T. MARL[N ROBERTS at 570 CULLUM ROAD ATOKA, TN 38004 in full refund of the cash

appearance bond posted herein.

United States District Judge
Judge Sarnue] H. Mays

 

Approved.

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:03-CR-202] 8 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

David Pritchard

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Honorable Sarnuel Mays
US DISTRICT COURT

